AO 245B (Rev. 09/19) Judgment in a Criminal Case

                                      UNITED STATES DISTRICT COURT
                                                         Southern District of Indiana

                 UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE

                                      v.
                                                                           Case Number: 1:21CR00245-001
                                                                           USM Number: 36763-509

                           JORDAN FIELDS                                   Dominic D. Martin
                                                                           Defendant’s Attorney



THE DEFENDANT:
☒ pleaded guilty to counts 1-3
☐ pleaded nolo contendere to count(s) which was accepted by the court.
☐ was found guilty on count(s) after a plea of not guilty
The defendant is adjudicated guilty of these offense(s):
 Title & Section                           Nature of Offense                                      Offense Ended              Count
 18 U.S.C. § 2251(a)                       Sexual Exploitation of a Child/Attempt Sexual          July 28, 2020                  1
                                           Exploitation of a Child
 18 U.S.C. § 2251(a)                       Sexual Exploitation of a Child/Attempt Sexual          July 29, 2020                   2
                                           Exploitation of a Child
 18 U.S.C. § 2251(a)                       Sexual Exploitation of a Child/Attempt Sexual          March 16, 2020                  3
                                           Exploitation of a Child

        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s) dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.
                                                                            February 8, 2022
                                                                            Date of Imposition of Sentence:




                                                                            Date: 2/11/2022
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                                                    IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 330 months, on each of Counts 1-3, to be served concurrently.

☒The Court makes the following recommendations to the Bureau of Prisons: The defendant shall be designated to FCI
Elkton. Placement shall include a management variable to a low security level where recommended programming is offered.
The defendant shall participate in sex offender treatment, mental health treatment, and prison industries.

☒The defendant is remanded to the custody of the United States Marshal.

☐The defendant shall surrender to the United States Marshal for this district:
         ☐ at
         ☐ as notified by the United States Marshal.
☐The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         ☐ before 2 p.m. on
         ☐ as notified by the United States Marshal.
         ☐ as notified by the Probation or Pretrial Services Office.


                                                         RETURN

I have executed this judgment as follows:


        Defendant was delivered on ___________________________ to ______________________________________
at ________________________________, with a certified copy of this judgment.

                                                                   ________________________________________
                                                                          UNITED STATES MARSHAL

                                                                   BY: ___________________________________
                                                                         DEPUTY UNITED STATES MARSHAL
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                                                    SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 20 years, on each of Counts 1-
3, to be served concurrently.

                                                 MANDATORY CONDITIONS
    1.   You shall not commit another federal, state, or local crime.
    2.   You shall not unlawfully possess a controlled substance.
    3.   You shall refrain from any unlawful use of a controlled substance. You shall submit to one drug test within 15 days of
         release from imprisonment and at least two periodic least two periodic drug tests thereafter, as determined by the court.
                   ☐ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
                   future substance abuse. (check if applicable)
    4.   ☒ You shall make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
         of restitution. (check if applicable)
    5.   ☒ You shall cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
    6.   ☒ You shall comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
         where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
    7.   ☐ You shall participate in an approved program for domestic violence. (check if applicable)

       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

         The defendant shall comply with the conditions listed below.

                                                CONDITIONS OF SUPERVISION

    1. You shall report to the probation office in the federal judicial district to which you are released within 72 hours of
       release from the custody of the Bureau of Prisons.

    2. You shall report to the probation officer in a manner and frequency directed by the court or probation officer.

    3. You shall permit a probation officer to visit you at a reasonable time at home or another place where the officer
       may legitimately enter by right or consent, and shall permit confiscation of any contraband observed in plain view
       of the probation officer.

    4. You shall not knowingly leave the federal judicial district where you are being supervised without the permission
       of the supervising court/probation officer.

    5. You shall answer truthfully the inquiries by the probation officer, subject to your 5th Amendment privilege.

    6. You shall not meet, communicate, or otherwise interact with a person you know to be engaged, or planning to be
       engaged, in criminal activity. You shall report any contact with persons you know to be convicted felons to your
       probation officer within 72 hours of the contact.

    7. You shall reside at a location approved by the probation officer and shall notify the probation officer at least 72
       hours prior to any planned change in place or circumstances of residence or employment (including, but not limited
       to, changes in who lives there, job positions, job responsibilities). When prior notification is not possible, you shall
       notify the probation officer within 72 hours of the change.

    8. You shall not own, possess, or have access to a firearm, ammunition, destructive device or dangerous weapon.
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    9. You shall notify the probation officer within 72 hours of being arrested, charged, or questioned by a law enforcement
       officer.

    10. You shall maintain lawful full time employment, unless excused by the probation officer for schooling, vocational
        training, or other reasons that prevent lawful employment.

    11. You shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
        the permission of the court.

    12. As directed by the probation officer, you shall notify third parties who may be impacted by the nature of the conduct
        underlying your current or prior offense(s) of conviction and/or shall permit the probation officer to make such
        notifications and/or confirm your compliance with this requirement.

    13. You shall make a good faith effort to follow instructions of the probation officer necessary to ensure compliance
        with the conditions of supervision.

    14. You shall participate in a mental health treatment program, as approved by the probation officer, and abide by the
        rules and regulations of that program. The probation officer, in consultation with the treatment provider, shall
        supervise participation in the program (provider, location, modality, duration, intensity, etc.). You shall take all
        mental health medications that are prescribed by your treating physician. The court authorizes the release of the
        presentence report and available evaluations to the treatment provider, as approved by the probation officer.

    15. You shall provide the probation officer access to any requested financial information and shall authorize the release
        of that information to the U.S. Attorney’s Office for use in connection with the collection of any outstanding fines
        and/or restitution.

    16. You shall not incur new credit charges, or open additional lines of credit without the approval of the probation
        officer.

    17. All employment shall be approved in advance by the probation officer.

    18. You shall not knowingly enter any strip club or adult entertainment establishment.

    19. You shall not have unsupervised meetings, activities, or visits, or intentional communications with any minor unless
        they have been disclosed to the probation officer and approved by the court. You shall not have supervised
        meetings, activities, visits, or intentional communications with any minor unless they have been approved by the
        probation officer. Before you may request approval for such meetings, activities, visits, or intentional
        communications (unsupervised or supervised), you must notify the person(s) having custody of any such minor(s)
        about the conviction in this case and the fact that you are under supervision.

    20. You shall not be employed in any position or participate as a volunteer in any activity that involves unsupervised
        meetings, intentional communications, activities, or visits with minors except as disclosed to the probation officer
        and approved by the court.

    21. You shall not participate in unsupervised meetings, intentional communications, activities, or visits with persons
        you know to be a registered sex offender or to have been convicted of a felony sex offense involving an adult or
        minor, including any child pornography offense, except as disclosed to the probation officer and approved by the
        court. This condition is not intended to prevent you from participating in treatment programs or religious services
        with felons in such programs/services so long as the activity has been disclosed as described above.

    22. You shall not engage in any meetings, communications, activities, or visits with Minor Victim 1, Minor Victim 2,
        Minor Victim 3, or Minor Victim 4.
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    23. You shall submit to the search by the probation officer of your person, vehicle, office/business, residence, and
        property, including any computer systems and hardware or software systems, electronic devices, telephones, and
        Internet-enabled devices, including the data contained in any such items, whenever the probation officer has a
        reasonable suspicion that a violation of a condition of supervision or other unlawful conduct may have occurred or
        be underway involving you and that the area(s) to be searched may contain evidence of such violation or conduct.
        Other law enforcement may assist as necessary. You shall submit to the seizure of contraband found by the
        probation officer. You shall warn other occupants these locations may be subject to searches.

    24. You shall not possess any child pornography or visual depictions of child erotica or nude minors. Any such material
        found in your possession shall be considered contraband and will be confiscated by the probation officer.

    25. You shall participate in a program of treatment for sexual disorders, including periodic polygraph examinations, as
        directed by the probation officer. The treatment provider should determine the type and timing of such polygraph
        examinations. The court authorizes the release of the presentence report and available psychological evaluations to
        the treatment provider, as approved by the probation officer.

    26. You shall consent, at the direction of the probation officer, to having installed on your computer(s), telephone(s),
        electronic devices, and any hardware or software, systems to monitor your use of these items. Monitoring will
        occur on a random and/or regular basis. You will warn other occupants or users of the existence of the monitoring
        hardware or software. To promote the effectiveness of this monitoring, you shall disclose in advance all cellular
        phones, electronic devices, computers, and any hardware or software to the probation officer and may not access or
        use any undisclosed equipment.

    27. You shall pay the costs associated with the following imposed conditions of supervised release, to the extent you
        are financially able to pay: mental health treatment, sexual disorder assessment/treatment/ physiological testing,
        and computer monitoring systems. The probation officer shall determine your ability to pay and any schedule of
        payment.

I understand that I and/or the probation officer may petition the Court to modify these conditions, and the final decision to
modify these terms lies with the Court. If I believe these conditions are being enforced unreasonably, I may petition the
Court for relief or clarification; however, I shall comply with the directions of my probation officer unless or until the Court
directs otherwise. Upon a finding of a violation of probation or supervised release, I understand that the court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the condition of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



 (Signed)
                           Defendant                                                              Date


                           U.S. Probation Officer/Designated Witness                              Date
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                                                 CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties in accordance with the schedule of payments set forth
in this judgment.

                      Assessment                Restitution       Fine       AVAA Assessment*           JVTA Assessment**

 TOTALS                 $300.00                 $40,000.00                           $1.00

☐ The determination of restitution is deferred for 30 days. An Amended Judgment in a Criminal Case (AO245C) will be
  entered after such determination.

☒ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
   all nonfederal victims must be paid before the United States is paid.

             Name of Payee                        Total Loss***          Restitution Ordered          Priority or Percentage

 Minor Victim 1 (see dkt #44)                      $10,000.00                $10,000.00                            1
 Minor Victim 2 (see dkt #44)                      $10,000.00                $10,000.00                            1
 Minor Victim 3 (see dkt #44)                      $10,000.00                $10,000.00                            1
 Minor Victim 4 (see dkt #44)                      $10,000.00                $10,000.00                            1

 Totals                                            $40,000.00                $40,000.00


☐ Restitution amount ordered pursuant to plea agreement $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
  before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
  Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☒ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

   ☒ the interest requirement is waived for the ☐ fine ☒ restitution

   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:



* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payment of $ _____ due immediately, balance due
        ☐      not later than _____, or
        ☐      in accordance with       ☐ C, ☐ D, ☐ E, or ☐ F below; or

B     ☒ Payment to begin immediately (may be combined with ☐ C, ☐ D, ☐ F or ☒ G below); or

C     ☐ Payment in equal ____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or years),
        to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal _____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or years),
        to commence ______ (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     ☐ Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ☐ If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the restitution
        ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the amount of loss, and
        the defendant's liability for restitution ceases if and when the victims receive full restitution.

G     ☒ Special instructions regarding the payment of criminal monetary penalties:

          Any unpaid restitution balance during the term of supervision shall be paid at a rate of not less than 10% of the defendant's
          gross monthly income.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐         Joint and Several

    Defendant and Co-Defendant                  Total Amount              Joint and Several Amount            Corresponding Payee
     Names and Case Numbers
     (including defendant number)




☐         The defendant shall pay the cost of prosecution.

☐         The defendant shall pay the following court cost(s): _____

☒         The defendant shall forfeit the defendant’s interest in the following property to the United States: a grey/black cellular phone
          recovered from the defendant's vehicle on March 24, 2020; two Samsung cellular phones; an Alcatel one touch cell
          phone; a Lenovo laptop; a Sandisk USB drive; an Enkei USB drive; a Youse USB drive; a Xbox One S; a tower
          style computer; a Xbox 360; and all the data stored on all of the above devices.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
